 Case 18-35189-KLP               Doc 20 Filed 11/01/18 Entered 11/02/18 00:26:28                      Desc Imaged
                                      Certificate of Notice Page 1 of 2
                                       United States Bankruptcy Court
                                             Eastern District of Virginia
                                                 Richmond Division
                                                701 East Broad Street
                                                Richmond, VA 23219


                                                             Case Number 18−35189−KLP
                                                             Chapter 13
In re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):

    Gregory Ridell Jeffery Sr.
    2707 Pomona Road
    Richmond, VA 23223
Last four digits of Social−Security or Individual Taxpayer−Identification (ITIN) No(s).,(if any):
   Debtor: xxx−xx−5793
Employer Tax−Identification (EIN) No(s).(if any):
  Debtor: NA


                                  NOTICE OF POSSIBLE DISMISSAL
                      PURSUANT TO LBR 1007−1 LISTS, SCHEDULES AND STATEMENTS


TO:           DEBTOR OR DEBTOR'S COUNSEL

You filed a petition with the Office of the Clerk of the United States Bankruptcy Court, Eastern District of Virginia,
on October 16, 2018. Pursuant to Local Bankruptcy Rule 1007−1, please be advised that the following document(s)
are missing and must be filed within fourteen (14) days of the petition date.

Missing Documents Due: October 30, 2018

Failure to timely file the missing document(s) or to timely seek an extension of time, may result in the dismissal of
your bankruptcy case.

**Missing Document(s):


Summary of Your Assets and Liabilities and Certain Statistical Information



                                                             William C. Redden
                                                             Clerk, United States Bankruptcy Court
Date: October 30, 2018
                                                             /s/ James Cummings
                                                             Deputy Clerk

[10071vAug2018.jsp]
        Case 18-35189-KLP              Doc 20 Filed 11/01/18 Entered 11/02/18 00:26:28                               Desc Imaged
                                            Certificate of Notice Page 2 of 2
                                               United States Bankruptcy Court
                                               Eastern District of Virginia
In re:                                                                                                     Case No. 18-35189-KLP
Gregory Ridell Jeffery, Sr.                                                                                Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0422-7                  User: cummingsj                    Page 1 of 1                          Date Rcvd: Oct 30, 2018
                                      Form ID: 1007115                   Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 01, 2018.
db             +Gregory Ridell Jeffery, Sr.,   2707 Pomona Road,   Richmond, VA 23223-1736

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 01, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 30, 2018 at the address(es) listed below:
              John C. Morgan, Jr.    on behalf of Debtor Gregory Ridell Jeffery, Sr. rhonda@NewDayLegal.com,
               jcmlaw123@gmail.com;jcm@ecf.inforuptcy.com;bkdocs@newdaylegal.com;r49876@notify.bestcase.com;robi
               n@newdaylegal.com;christy@newdaylegal.com
              John P. Fitzgerald, III    USTPRegion04.RH.ECF@usdoj.gov
              Suad Bektic     on behalf of Debtor Gregory Ridell Jeffery, Sr. sbektic@newdaylegal.com,
               bekticsr49876@notify.bestcase.com;rhonda@newdaylegal.com;robin@newdaylegal.com;christy@newdaylega
               l.com
              Suzanne E. Wade    ecfsummary@ch13ricva.com, trustee@ch13ricva.com;fred@cmc13.net
                                                                                             TOTAL: 4
